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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION


UNITED STATES OF AMERICA


VERSUS                                                 CRIMINAL ACTION NO. 2:09CR65-P-S


TYPHRON ARMSTRONG


                                              ORDER

       This cause is before the Court on defendant Armstrong’s Motion to Continue Trial Setting

[81]. The Court, having reviewed the motion and being otherwise fully advised in the premises,

finds as follows, to-wit:

       Defendant Armstrong seeks a continuance of the trial set to commence on April 26, 2010.

In support of the motion, defendant avers that the parties have negotiated a resolution of this matter

has been reached and it is anticipated that no trial will be necessary. The government has no

objection to the requested relief. Based on the foregoing, the Court finds that the defendant’s motion

is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. §

3161(h)(7)(A), the period of delay from April 26, 2010 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(7)(A) because, given the circumstances

described above, a continuance is necessary to afford the parties an opportunity to resolve this matter

without a trial. Therefore, the ends of justice served by the granting of this continuance outweigh

the best interests of the public and the defendant in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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  1.     Defendant Armstrong’s Motion to Continue Trial Setting [81] is GRANTED;

  2.     That the trial of this matter is continued until Monday, July 26, 2010 at 9:00 a.m. in

         the United States District Courthouse in Greenville, Mississippi;

  3.     That the delay from April 26, 2010 until July 26, 2010 is excluded as set out above;

  4.     That the deadline for filing pretrial motions is July 6, 2010;

  5.     That the deadline for submitting a plea agreement is July 12, 2010.

  SO ORDERED, this the 12th day of April, 2010.

                                                /s/ W. Allen Pepper, Jr.
                                                W. ALLEN PEPPER, JR.
                                                UNITED STATES DISTRICT JUDGE
